                                4:18-cv-04124-SLD-JEH # 80            Page 1 of 14
   Case: 20-1606                 Document: 00713841877                Filed: 07/08/2021
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                                                                                             July, 2021      (1 of 14)
                                                                                                                    AM
                                                                                      Clerk, U.S. District Court, ILCD

    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
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                                      NOTICE OF ISSUANCE OF MANDATE
July 8, 2021


To: Shig Yasunaga
    UNITED STATES DISTRICT COURT
    Central District of Illinois
    Davenport, IA 52801-0000
                                     CIARA VESEY,
                                              Plaintiff - Appellant

                                     v.
No. 20-1606

                                     ENVOY AIR, INCORPORATED, doing business as AMERICAN
                                     EAGLE AIRLINES, INC.,
                                              Defendant - Appellee
Originating Case Information:
District Court No: 4:18-cv-04124-SLD-JEH
Central District of Illinois
District Judge Sara Darrow


Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.

RECORD ON APPEAL STATUS:                                               No record to be returned



form name: c7_Mandate       (form ID: 135)
                                4:18-cv-04124-SLD-JEH # 80            Page 2 of 14
    Case: 20-1606                Document: 00713841878                Filed: 07/08/2021        Pages: 1   (2 of 14)



    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


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          Chicago, Illinois 60604




                                                    FINAL JUDGMENT
May 28, 2021

                                                       Before
                                          DIANE S. SYKES, Chief Judge
                                          MICHAEL B. BRENNAN, Circuit Judge
                                          MICHAEL Y. SCUDDER, Circuit Judge

                                     CIARA VESEY,
                                              Plaintiff - Appellant

                                     v.
No. 20-1606

                                     ENVOY AIR, INCORPORATED, doing business as AMERICAN
                                     EAGLE AIRLINES, INC.,
                                              Defendant - Appellee
Originating Case Information:
District Court No: 4:18-cv-04124-SLD-JEH
Central District of Illinois
District Judge Sara Darrow


The judgment of the District Court is AFFIRMED, with costs, in accordance with the decision of
this court entered on this date.




form name: c7_FinalJudgment        (form ID: 132)
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Case: 20-1606     Document: 00713841879                Filed: 07/08/2021         Pages: 11   (3 of 14)




                                         In the

                United States Court of Appeals
                           For the Seventh Circuit
                               ____________________
         No. 20-1606
         CIARA VESEY,
                                                          Plaintiff-Appellant,
                                           v.

         ENVOY AIR, INCORPORATED, doing
         business as AMERICAN EAGLE AIRLINES, INC.,
                                                 Defendant-Appellee.
                               ____________________

                   Appeal from the United States District Court for the
                                 Central District of Illinois.
                  No. 4:18-cv-04124-SLD-JEH — Sara Darrow, Chief Judge.
                               ____________________

                ARGUED DECEMBER 1, 2020 — DECIDED MAY 28, 2021
                               ____________________

             Before SYKES, Chief Judge, and BRENNAN and SCUDDER, Cir-
         cuit Judges.
             BRENNAN, Circuit Judge. An airline agent was terminated
         after she abused her travel privileges. She sued, claiming she
         was harassed because of her race and fired in retaliation for
         reporting the harassment. The airline maintains it properly
         handled her complaints and that she was dismissed for just
         cause.
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         2                                                   No. 20-1606

            The district court granted the airline summary judgment,
         denied the agent’s motion to alter or amend that judgment,
         and ordered the agent to pay the airline’s costs. We affirm
         each of these decisions.
                                         I
             In reviewing a grant of summary judgment, we construe
         all facts and draw all inferences in the light most favorable to
         the non-moving party. Pack v. Middlebury Cmty. Sch., 990 F.3d
         1013, 1017 (7th Cir. 2021). Here, that is Ciara Vesey, an African
         American woman who began work in 2012 for Envoy Air, Inc.
         as a station agent at Quad Cities International Airport in Rock
         Island County, Illinois.
             Several incidents occurred during Vesey’s four years of
         employment with Envoy. For example, in November 2014 she
         drove a jet bridge into an aircraft. Vesey received a serious
         reprimand ȱ ȱ ȱ Ĵȱ ȱ ȱ ȱ ȱ
         comply with all company rules and regulations. This repri-
         mand—the last step before termination—was to remain in ef-
         fect for two years.
             In 2016, Vesey and other Envoy employees also lodged
         workplace-related complaints against each other. Beginning
         in February and March, Vesey complained to the airline’s hu-
         man resources department of favoritism and bias. Envoy in-
         vestigated and found her allegations unsubstantiated. But
         that August, Vesey reported that a coworker, Eric Masengarb,
         directed racist remarks and actions at her. Envoy found this
         complaint substantiated and ę Masengarb.
            Vesey also said that in 2016, one of her lead agents, Carrie
         McMurray, and her general manager, Teresa White—who
         had defended Masengarb and sought to rehire him—
                 4:18-cv-04124-SLD-JEH # 80          Page 5 of 14
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         undertook a campaign of retaliation and harassment against
         her. McMurray lodged a complaint, which was ultimately
         found unsubstantiated, that Vesey had posted racist content
         on Facebook. McMurray also told others she did not want to
         work with Vesey anymore. Both McMurray and White said
         ¢ȱ ȱ¢ȱęǯȱVesey further claims that previously
         missing evidence—which she says is cause for reconsidera-
         tion of the district court’s decision on summary judgment—
         shows that White pressured Ashley Emerick, another em-
         ¢ǰȱ ȱ ęȱ ȱ ¢ȱ ȱ ȱ ȱ
         Vesey abused ȱȱęǯȱ
             ¢Ȃȱ¢ȱęȱȱĚ¢ȱ¢ȱȱ
         free. As part of her employment, Vesey signed Envoy’s rules
         ȱ ȱ ȱ ęȱ ȃǽǾȱ ȱ ȱ ȱ
         will be grounds for dismissal.” In September 2016, Emerick
         ȱȱ¢ȱ ȱȱ¢Ȃȱȱęǯȱ
         Envoy investigated and concluded that, numerous times
         throughout 2016, Vesey had abused those ęȱȱher ac-
         cess to the airline’s booking system.
             The company discovered that on two occasions, Vesey—
         although not intending to travel—had used her employee ac-
         cess to volunteer to receive a travel voucher in exchange for
         ȱ ȱ ȱ Ěǰȱ ȱ ȱ ȱ ȱ ǯȱ ȱ ęȱ
         time, other customers volunteered for the travel voucher be-
         fore her, hampering Vesey’s plan, so she used her employee
         access to the booking system to cancel her reseȱ ęȱ
         ȱȱȱĚȱ ȱȱȱȱěǯ The second time
         Vesey successfully collected a $500 voucher in exchange for
         postponing her reservation by one day. Never intending to
         take the trip, she then cancelled the new reservation.
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             On two other occasions, Envoy’s investigators found that
         ¢ȱȱȱȱ¢ȱȱĚȱȱ ȱȱ¢ȱ
         held non-standby reservations. After successfully boarding
         ȱ Ěȱ ěȱ ȱ ¢ȱ ǰȱ ¢ȱ ȱ ȱ ȱ -
         standby reservation. This prevented the airline from selling a
         seat and improved her odds of Ě¢ standby for free. Envoy
         further discovered that Vesey had convinced another em-
         ¢ȱȱȱȱȱȱȱȱĚȱȱȱȂȱȬ
         ing system when she had missed the dȱĚȱȱȱ
         ȱǯȱȱ¢ȱȱĚ¢ȱ¢ȱȱȱ
         their reservation, so by having her co-worker manually check
         her in through the booking system, Vesey avoided the possi-
         bility of having to pay change fees. Envoy’s investigators con-
         cluded that all of these actions by Vesey violated company
         policy.
            Before the end of the investigation, Vesey again com-
         plained to human resources, claiming that McMurray was
         harassing and stalking her by looking at her travel history.
         Envoy found this complaint to be unsubstantiated, and that
         even if the allegations were true, they would not have
         amounted to improper conduct by McMurray.
            Given the active reprimand for the jet bridge incident, and
         ȱęȱȱ¢ȱȱȱȱȱęts, the in-
         vestigator recommended the airline terminate her. A com-
         ¢ȱĴȱagreed, and Vesey was terminated in October
         2016.
                                         II
            Vesey sued Envoy, alleging among other things retaliation
         and a hostile work environment in violation of Title VII of the
         Civil Rights Act of 1964 and the Illinois Human Rights Act.
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         According to Vesey, Envoy’s ę against her were pre-
         textual, and the airline investigated and terminated her in re-
         taliation for her reporting racist and retaliatory conduct by
         other Envoy employees. Vesey also alleged that ȱěȱ
         a hostile work environment due to the conduct of Masengarb,
         McMurray, and White.
             The district court granted Envoy summary judgment, rul-
         ing that Vesey was not terminated in retaliation for her con-
         duct, and that the hostility Vesey claimed she was subjected
         to did not constitute a racially hostile work environment. Af-
         ter some dispute, anȱ ȱ ȱ ęǰȱ ȱ ȱ
         court also granted costs to Envoy.
             Following the district court’s judgment, Vesey discovered
         that the transcript of Emerick’s deposition she had received
         from the court reporter was incomplete. ę¢, the part
         of the transcript Vesey ¢ȱĴȱȱȱȱomit-
         ted Emerick’s explanation that White ȱȱȱȱęȱ
         the complaint about Vesey’s abuse of ȱ ęs. Vesey
         moved to alter or amend the judgment against her under Fed-
         eral Rule of Civil Procedure 59(e). She argued that the previ-
         ously missing portion of the deposition transcript was newly
         discovered evidence corroborating her allegation that her ter-
         mination was retaliatory. The district court ruled against her
         again, holding that Vesey’s lack of diligence in uncovering the
         mistake did not make the evidence newly discovered for pur-
         poses of Rule 59.
            Vesey now appeals the district court’s grant of summary
         judgment to Envoy on the retaliation and hostile work envi-
         ronment claims, as well as the denial of her Rule 59(e) motion.
         She also asks us to set aside the order granting costs to Envoy.
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         6                                                     No. 20-1606

                                         III
                                         A
             We review a district court's grant of summary judgment
         de novo, construing all facts and drawing all inferences in the
         light most favorable to the non-moving party. Pack, 990 F.3d
         at 1017. Summary judgment is appropriate if there is no gen-
         uine dispute as to any material fact and the movant is entitled
         ȱȱȱȱĴȱȱ ǯȱFED. R. CIV. P. 56(a).
             To sustain a retaliation claim, Vesey must show that (1) she
         engaged in an activity protected by the statute; (2) she suf-
         fered an adverse employment action, and (3) there was a
         causal link between the protected activity and the adverse
         action. Lewis v. Wilke, 909 F.3d 858, 866 (7th Cir. 2018). For pur-
         poses of summary judgment, Envoy conceded that Vesey’s
         ę of complaints was a protected activity and that her ter-
         mination was an adverse employment action. The only dis-
         pute, then, is as to the causal link.
             Vesey does not allege retaliatory motives by Envoy’s in-
         vestigators who recommended her termination, or by the
         Ĵȱ ȱ ȱ ȱ . Instead, she argues
         that Envoy is liable under a cat’s paw theory of liability. This
         theory applies when a biased supervisor ȃwho lacks decision-
         making power uses the formal decision maker as a dupe in a
         deliberate scheme to trigger a discriminatory employment ac-
         tion.” Johnson v. Koppers, Inc., 726 F.3d 910, 914 (7th Cir. 2013)
         ǻȱȱȱĴ). Vesey claims that White
         ȱ¢ȱȱȱȱȱȱęȱ
         the anonymous complaint against her.
            But the mere fact that an employee’s wrongdoing was re-
         ported by a biased supervisor with a retaliatory or
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         No. 20-1606                                                                  7

         discriminatory motive does not establish liability under a
         cat’s paw theory. ȱȱȃȱȱȱȱȬ
         verse action for reasons unrelated to the supervisor’s original
         biased action … then the employer will not be liable.” Staub v.
         Proctor Hospital, Inc., 562 U.S. 411, 421 (2011). Rather, a plain-
         tiff must show that the biased supervisor’s actions were a
         proximate cause of the adverse employment action. Id. at 420.
         Proximate cause exists only if the investigation took the com-
         plaint ȃȱ ȱ ȱ ȱ ȱ ȱ ȱ
         action was, apart from the supervisor’s recommendation, en-
         ¢ȱȄȱȱȱȱȱȃies on facts provided
         by the biased supervisor.” Id. at 421. 1 So, if an employer’s de-
         cision to take an adverse employment action did not rely on
         the credibility of a biased supervisor—that is, the employer
         believed it had independently sufficient reasons, such as cor-
         roboration of the allegations, to take the adverse action—then
         the employee’s cat’s paw theory will fail for lack of proximate
         cause. See Woods v. City of Berwyn, 803 F.3d 865, 870–71 (7th
         Cir. 2015) (when terminating employee, ¢ȱȱȃȱȱ
         rely” on the conclusions of an allegedly biased supervisor, in-
         stead deciding based on facts presented by an unbiased party,
         so cat’s paw theory of liability did not apply); accord Singh v.
         Cordle, 936 F.3d 1022, 1038 (10th Cir. 2019) (explaining that
         proximate cause for a cat’s paw theory exists when the deci-
         sion to take adverse action is ȱȱȃ’uncritical reliance’ on
         facts provided by a biased subordinate”) (citation omitted).


             1 This court stated in Staub v. Proctor Hosp. ȱȃǽǾȱȱȱȱȱ

         decisionmaker is not wholly dependent on a single source of information
         and conducts her own investigation into the facts relevant to the decision,”
         560 F.3d 647, 659 (7th Cir. 2009), but the Supreme Court rejected that
         standard, rev'd and remanded, 562 U.S. at 420–21 (2011).
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             Here, even if Vesey’s general manager had a retaliatory
         motive, there is no evidence that Envoy’s investigators relied
         on the veracity of the complaint for anything but initiating the
         investigation. Indeed, the investigators said they reached
         their conclusion by reviewing Vesey’s travel history and ac-
         tivity on various airline systems and by interviewing her and
         the employee who had helped her modify one of her reserva-
         tions. No evidence presented by Vesey creates a genuine dis-
         pute that would allow a reasonable jury to conclude that the
         result of the investigation was proximately caused by the
         complaint rather than ¢ȱ ȱ ¢ȱ Ĝȱ ęȬ
         ings of Envoy’s investigation.
             In addition to pressing her cat’s paw theory, Vesey also
         argues on appeal that she did not violate any Envoy policies
         and that the alleged violations were therefore mere pretext for
         ȱ¢ȱę. But whether Vesey’s conduct was in fact a
         violation of Envoy’s company policy is beyond the scope of
         this case. An employer’s explanation is not pretext if ȃthe em-
         ployer honestly believed in the nondiscriminatory reasons it
         ěǯ” Kellogg v. Ball State Univ., 984 F.3d 525, 528 (7th Cir.
         2021) ǻȱȱȱĴǼ. White and McMur-
         ray—the individuals whom Vesey claims had retaliatory ani-
         mus— ȱ ȱ ¡ȱ ȱ ȱ ȱ ę. She admits
         that the investigators themselves were not motivated by any
         discriminatory animus. And the uncontested facts about
         Vesey’s ȱ ȱ ȱ ęȱ reveal her dishonest conduct.
         She alleges that others were not punished for similar actions,
         but she incorrectly equates her own conduct with the vastly
         ěȱǻȱȱȱǼȱ of two other em-
         ployees—accessing their own standby reservations through
         the reservation system—who ȱ ȱ ęǯȱ Vesey was not
         ęȱ  merely accessing her own standby reservations
                4:18-cv-04124-SLD-JEH # 80         Page 11 of 14
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         No. 20-1606                                                    9

         through the wrong system; she was ęȱȱdefrauding her
         employer. ȱ ȱ ěȱ ¢ȱ ¢ȱ ȱ ȱ ȱ
         dispute that would allow a reasonable jury to conclude that
         Vesey was terminated for any reason other than her abuse of
         ȱęǯ
             Vesey also faults the district court for improperly rejecting
         her hostile work environment claim. She contends the racist
         actions of Masengarb, combined with the retaliatory actions
         of White and McMurray—being rude to her, and saying they
         did not want to work with her and wanted ȱ ę—
         amounted to a hostile work environment. The district court
         was still correct to grant Envoy summary judgment on this
         claim. Envoy avoided any liability for Masengarb’s remark by
         promptly investigating Vesey’s complaint and terminating
         him. Montgomery v. Am. Airlines, Inc., 626 F.3d 382, 390 (7th
         Cir. 2010) (holding that employer liability for coworker
         harassment ȱȱȱ¢ȱȱȃȱȱȬ
         covering or remedying harassment”). Vesey’s claim that her
         general manager told ȱ¢ȱȱȱȱȱęȱ
         rests only on hearsay. And as we have said, that a supervisor
           ȱȃĜǰȱ¢ǰȱȱ ǽȱǾ
         establishǽǾ an objectively hostile work environment.” McKen-
         zie v. Milwaukee Cnty., 381 F.3d 619, 624–25 (7th Cir. 2004).
                                        B
             Vesey also appeals the district court’s denial of her Rule
         59(e) motion to alter or amend the judgment given the previ-
         ously missing portion of Emerick’s deposition. According to
         ¢ǰȱȱ ¢ȱȱȱ ȱȱȱęȱ
         the complaint against her at the urging of White—who Vesey
         alleges harbored retaliatory animus against her.
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         10                                                   No. 20-1606

            Relief under Rule 59(e) is ȱȃ¡¢ȱǽ¢Ǿ re-
         served for the exceptional case.” Gonzalez-Koeneke v. West, 791
         F.3d 801, 807 (7th Cir. 2015). It is granted to correct a manifest
         error—factual or legal—or to consider newly discovered evi-
         dence. Cincinnati Life Ins. Co. v. Beyrer, 722 F.3d 939, 954 (7th
         Cir. 2013). We review its denial for abuse of discretion. Id. at
         953.
            Vesey argues the missing part of the transcript is newly
         discovered evidence. But newly discovered evidence can be
         grounds for relief under Rule 59 only if the party exercised
         due diligence in discovering it and, nevertheless, only discov-
         ered it post-judgment. Id. at 955.
             Vesey’s lawyers Ĵȱ Emerick’s deposition, so they
         were present during the testimony memorialized in the por-
         tions of the transcript that became the subject of her Rule 59(e)
         motion. The evidence was therefore discovered on the day of
         the deposition. Additionally, while preparing her summary
         judgment ę, Vesey should have noticed that the tran-
         script was incomplete, especially if the missing portions, as
         she now argues, were important enough to change the out-
         come of the case. We agree with the district court that Vesey’s
         ȃȱȱȱȱȱȱȱȱ ¢ȱȬ
         ered.” See  ȱǯȱȱ¢ǯȱěȂȱȂ, 602 F.3d 845,
         852 (7th Cir. 2010) (denying a Rule 59(e) motion based on a
         deposition taken ȱ¢ȱȱȱ ȱę,
         but that could have been taken earlier, because ȃȱ śşǻǼ
         cannot be used to introduce evidence that could have been
         presented earlier”). Thus, the district court did not abuse its
         discretion in denying her Rule 59(e) motion.
              Even considering Emerick’s entire deposition, Envoy was
         still entitled to summary judgment. Vesey admits that
                4:18-cv-04124-SLD-JEH # 80         Page 13 of 14
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         No. 20-1606                                                   11

         Envoy’s investigators were not motivated by any retaliatory
         or discriminatory animus, and instead she argues a cat’s paw
         theory. But as explained above, a cat’s paw theory does not
         apply because the investigators ȱ Ĝȱ ęȬ
         tion, independent of the allegedly biased complaint, ȱ ęȱ
         Vesey.
                                        C
             Finally, the district court ordered Vesey to pay Envoy’s
         costs, which she contests. Yet in her principal brief, Vesey of-
         fers only a conclusory remark on the topicǱȱȃȱȱȱȱ
         had numerous entries of exorbitant charges and billing of
           ȱ ȱ ě-Appellant should not be held accounta-
         ble.” App. Br. 12, ECF No. 11. ȃȱȱȱ
         waived on appeal.” United States v. Collins, 604 F.3d 481,
         487-88 n.2 (7th Cir. 2010). In her reply brief she elaborates
         slightly, but arguments not made in the principal brief are for-
         feited. United States v. Foster, 652 F.3d 776, 787 n.5 (7th Cir.
         2011) ǻȃThe reply brief is not the appropriate vehicle for pre-
         senting new arguments or legal theories to the court”) (quot-
         ing United States v. Feinberg, 89 F.3d 333, 341 (7th Cir. 1996)).
         So we need not reach the merits of this argument.
             For all these reasons, we AFFIRM the district court’s grant
         of summary judgment to Envoy, denial of Vesey’s Rule 59(e)
         motion, and order for costs.
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              United States Court of Appeals
                                  For the Seventh Circuit
                                  Chicago, Illinois 60604

                                        June 30, 2021

                                           Before

                             DIANE S. SYKES, Chief Judge

                             MICHAEL B. BRENNAN, Circuit Judge

                             MICHAEL Y. SCUDDER, Circuit Judge




No. 20-1606

CIARA VESEY,                                        Appeal from the United States District
          Plaintiff-Appellant,                      Court for the Central District of Illinois.

       v.                                           No. 4:18-cv-04124-SLD-JEH

ENVOY AIR, INCORPORATED, doing                      Sara Darrow,
business as AMERICAN EAGLE                          Chief Judge.
AIRLINES, INC.,
             Defendant-Appellee.




                                         ORDER

        On consideration of the petition for rehearing and for rehearing en banc filed by
Plaintiff-Appellant on June 11, 2021, no judge in active service has requested a vote on the
petition for rehearing en banc, and the judges on the original panel have voted to deny
rehearing.

       Accordingly, the petition for rehearing is DENIED.
